           Case 2:19-bk-52868                                Doc 86         Filed 09/10/19 Entered 09/10/19 17:14:34                                              Desc Main
                                                                           Document      Page 1 of 17

Fill in thts information to identify your case and this filing:



Debtor   1            LEONARD                                      NYAMUSEVYA
                      Rrsi:Name                          MddleName                    Last Name

                      NONE                                    N/A
Debtor2
(Spouse, if filing)   First Name                         MddleName                    Last Name
                                                                                                                               '':�          S�P PH:: #\t� I o_

United States Bankruptcy Court for the:              Southern District of Ohio
                                                                                                                                             C � t� ,--� :'\ f:    ·-·   I

Case number
                      2: 19-bk-52868                                                                                           U� E       , . :.; '' c;: 'JiH
                                                                                                                                                           ,



                                                                                                                                  cs:_ :·.:'_:� .::B.theck if this
                                                                                                                                    · ··'·            •.                              is an
                                                                                                                                                                         amended filing

Official Form 1 06AIB

Schedule AlB: Property                                                                                                                                                             12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


                Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In


1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    0     No. Go to Part 2.
    El    Yes. Where is the property?
                                                                             What is the property? Check all that apply.
                                                                                                                                Do not deduct secured claims or exemptions. Put
                                                                             Iii'   Single-family home                          the amount of any secured claims on ScheduleD:
      1.1.     2064 Worcester Court                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             0       Duplex or multi-unit building
              Street address, if available, or other description
                                                                             0      Condominium or cooperative                  Current value of the                     Current value of the
                                                                             0      Manufactured or mobile home                 entire property?                         portion you own?

                                                                             0      Land                                        $                195,000.00              $    195,000.00
                                                                             0      Investment property
               Columbus                               OH       43232
              City
                                                                             0      Timeshare                                  Describe the nature of your ownership
                                                     State      ZIP Code
                                                                                                                               interest (such as fee simple, tenancy by
                                                                             0      other      ____________
                                                                                                                               the entireties, or a life estate), if known.
                                                                             Who has an interest in the property? Check one.

                                                                             0      Debtor     1   only

              County                                                         0      Debtor     2   only

                                                                             0      Debtor     1   and Debtor   2   only       0 Check if this is community property
                                                                                                                                        (see instructions)
                                                                             0      At least one of the debtors and another

                                                                             other information you wish to add about this item, such as local
                                                                             property identification number: ------

    If you own or have more than one, list here:
                                                                            What is the property? Check all that apply.
                                                                                                                                Do not deduct secured claims or exemptions. Put
                                                                            0    Single-family home                             the amount of any secured claims on ScheduleD:
      12
       . .
                                                                            0    Duplex or multi-unit building
                                                                                                                                Creditors Who Have Claims Secured by Property.
              Street address,      if available,   or other description
                                                                            0    Condominium or cooperative                    Current value of the                      Current value of the
                                                                            0    Manufactured or mobile home                   entire property?                          portion you own?

                                                                            0    Land                                           $
                                                                                                                                 __ _ _ __
                                                                                                                                                                         $_
                                                                                                                                                                             ______

                                                                            0    Investment property
                                                                                                                                Describe the nature of your ownership
              City
                                                                            0    Timeshare
                                                     State     ZIP Code                                                        interest (such as fee simple, tenancy by
                                                                            0    other   ____________
                                                                                                                               the entireties, or a life estate), if known.
                                                                            Who has an interest in the property? Check one.

                                                                            0   Debtor     1   only

             County
                                                                            0   Debtor     2   only

                                                                            0   Debtor     1   and Debtor   2   only           0 Check if this is community property
                                                                            0   At least one of the debtors and another                 (see instructions)

                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:                ------




Official Form 1 06AJB                                                       Schedule AlB: Property                                                                             page 1
            Case 2:19-bk-52868                                 Doc 86        Filed 09/10/19 Entered 09/10/19 17:14:34                                        Desc Main
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 Debtor     1           LEONARD                                     NYAMUSEVYA                                            Case number   (ifl<rown) 2: 19-bk-52868
                        First Name         Middle Name              Last Name




                                                                                What is the property? Check all that apply.                 Do not deduct secured claims or exemptions. Put

                 NONE                           N/A                             0      Single-family home
                                                                                                                                            the amount of any secured claims on Schedule D:
      1.3 .                                                                                                                                 Creditors Who Have Claims Secured by Property.
                 Street address,     if available,   or other description       0      Duplex or multi-unit building
                                                                                                                                            Current value of the         Current value of the
                                                                                0     Condominium or cooperative
                                                                                                                                            entire property?             portion you own?
                                                                                0      Manufactured or mobile home

                                                                                0      Land                                                 $    ______                  $.
                                                                                                                                                                          _ _ _ ____




                                                                                0      Investment property
                                                                                                                                            Describe the nature of your ownership
                 City                                  State     ZIP Code       0      Timeshare
                                                                                                                                            interest (such as fee simple, tenancy by
                                                                                0      Other   _____________
                                                                                                                                            the entireties, or a life estate), if known.

                                                                                Who has an interest in the property? Check one.

                                                                                0     Debtor   1 only
                 County
                                                                                0     Debtor   2 only
                                                                                0     Debtor   1 and Debtor 2 only                          D    Check if this is community property
                                                                                                                                                 (see instructions)
                                                                                0     At least one of the debtors and another


                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number: ------




h#fj Describe Your Vehicles
 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on                            Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    0       No
    if    Yes



     3.1.        Make:                               FORD                       Who has an interest in the property? Check one.             Do not deduct secured claims or exemptions. Put
                                                                                                                                            the amount of any secured claims on ScheduleD:
                 Model:                              Wind star                  lia   Debtor   1 only
                                                                                                                                            Creditors   Who Have   Claims Secured by Property.

                                                     1996                       0     Debtor   2 only
                Year:                                                                                                                       Current value of the         Current value of the
                                                                                0     Debtor   1 and Debtor 2 only
                 Approximate mileage:                180000                                                                                 entire property?             portion you own?
                                                                                0     At least one of the debtors and another

                 Other information:
                                                                                                                                                           200.00          200.00
                                                                                0 Check if this is community           property (see        $c.._ _____                  $'---    ---
                 Vehicle is junk, it is dead                                          instructions)




    If you own or have more than one, describe here:


     3.2.       Make:                            NONE                           Who has an interest in the property? Check one.             Do not deduct secured claims or exemptions. Put
                                                                                                                                            the amount of any secured claims on ScheduleD:
                Model:                                                          0     Debtor   1 only
                                                                                                                                            Creditors   Who Have   Claims Secured by Property.
                                                                                0     Debtor   2 only
                Year:                                                                                                                       Current value of the         Current value of the
                                                                                0     Debtor   1 and Debtor 2 only
                                                                                                                                            entire property?             portion you own?
                Approximate mileage:                                            0     At least one of the debtors and another

                Other information:
                                                                                0 Check if this is community           property (see        $.
                                                                                                                                             ______                      $.
                                                                                                                                                                          _____ _




                                                                                      instructions)




 Official   Form 1 06AIB                                                        Schedule AlB: Property                                                                          page 2
          Case 2:19-bk-52868                     Doc 86       Filed 09/10/19 Entered 09/10/19 17:14:34                                        Desc Main
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Debtor    1       LEONARD                           NYAMUSEVYA                                          Case number   (ifkrown)   2: 19-bk-52868
                      First Name   Middle Name      Last: Name




   3.3.       Make:                      NONE                    Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                            the amount of any secured claims on ScheduleD:
              Model:
                                                                 0   Debtor 1 only                                          Creditors Who Have Claims Secured    by Property.
                                                                 0   Debtor 2 only
              Year:                                                                                                         Current value ofthe         Current value ofthe
                                                                 0   Debtor 1 and Debtor 2 only
                                                                                                                            entire property?           portion you own?
              Approximate mileage:                               0   At least one of the debtors and another
              Other information:
                                                                 0 Check ifthis is     community property (see              $.   ______                $.   ______




                                                                     instructions)



   3.4.       Make:                      NONE                    Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                            the amount of any secured claims on ScheduleD:
              Model:
                                                                 0   Debtor 1 only
                                                                                                                            Creditors Who Have Claims Secured   by Property.
                                                                 0   Debtor 2 only
              Year:                                                                                                         Current value ofthe        Current value ofthe
                                                                 0   Debtor 1 and Debtor 2 only
                                                                                                                            entire property?           portion you own?
              Approximate mileage:                               0   At least one of the debtors and another
              Other information:
                                                                 0 Check ifthis is     community property (see              $.   ______                $.   _ ____
                                                                                                                                                                  _



                                                                     instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   �      No
   0     Yes



   4.1.       Make:         NONE                                 Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                            the amount of any secured claims on ScheduleD:
              Model:                                             0   Debtor 1 only
                                                                                                                            Creditors Who Have Claims Secured   by Property.
                                                                 0   Debtor 2 only
              Year:
                                                                 0   Debtor 1 and Debtor 2 only                             Current value ofthe        Current value ofthe
              Other information:                                 0   At least one of the debtors and another                entire property?           portion you own?


                                                                 0 Check ifthis is    community property (see
                                                                                                                            $                          $    ______

                                                                     instructions)
                                                                                                                             ______




   If you own or have more than one, list here:

   4.2.       Make:         NONE                                 Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                           the    amount of any secured claims on ScheduleD:
              Model:                                             0   Debtor 1 only
                                                                                                                            Creditors Who Have Claims Secured by   Property.
                                                                 0   Debtor 2 only
              Year:                                                                                                         Current value ofthe        Current value o fthe
                                                                 0   Debtor 1 and Debtor 2 only
                                                                                                                            entire property?           portion you own?
              Other information:
                                                                 0   At least one of the debtors and another


                                                                 0 Check ifthis is    community property (see               $.
                                                                                                                             ______                    $.
                                                                                                                                                        _____ _




                                                                     instructions)




Official Form 1 06AIB                                            Schedule AlB: Property                                                                       page 3
           Case 2:19-bk-52868                                               Doc 86                                   Filed 09/10/19 Entered 09/10/19 17:14:34                                                                                                                                                                                    Desc Main
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 Debtor 1         LEONARD                                                                   NYAMUSEVYA                                                                                                                                        Case number (ffkrown) 2: 19-bk-52868
                   First Name                       Middle Name                              Last: Name




               Describe Your Personal and Household Items

                                                                                                                                                                                                                                                                                                                                                  Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                                                                                                                                                                                                                  or exemptions.

6. Household goods and furnishings
   Examples:      Major appliances, furniture, linens, china, kitchenware

   D      No
   iiil   Yes. Describe .........                   refrigerator; range; furniture; China cabinet; beds;                                                                                                                                                                                                                                            $.   ____     4..:__
                                                                                                                                                                                                                                                                                                                                                                    ,0_0_0._ 0_0


7. Electronics
   Examples: Televisions and         radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

   0      No
   iiil   Yes. Describe          . . . .......
                                                    audio; laptop; printer; cell phone; camera; media player;                                                                                                                                                                                                                                     i $                750.00
                                                                                                                                                                                                                                                                                                                                                        · ------




s. Collectibles of value
   Examples: Antiques and figurines;      paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   iiil   No
   0      Yes. Describe          . . .... ....
                                                    NONE                                                                                                                                                                                                                                                                                            $.   _____             o.....
                                                                                                                                                                                                                                                                                                                                                                              o_.. o


9. Equipment for sports and hobbies
   Examples:       Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

   0      No
   iiil   Yes. Describe          . ...... . .   .   Exercise                                                                                                                                                                                                                                                                                              200.00
                                                                                                                                                                                                                                                                                                                                                    $·-----�-

1 o. Firearms

   Examples: Pistols, rifles, shotguns,                           ammunition, and related equipment
   iiil No
   D Yes. Describe.......... NONE                                                                                                                                                                                                                                                                                                                 I $.   _____             0._ 0_0

11.Ciothes

   Examples: Everyday clothes, furs, leather coats, designer wear,                                                                                         shoes, accessories
   D No
   iiil Yes. Describe.     Clothes; shoes; accessories;                                                                                                                                                                                                                                                                                             $                300.00
                                                                                                                                                                                                                                                                                                                                                         -------




12.Jewelry

   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                  gold, silver

   iiil   No
   D      Yes. Describe                                E                                                                                                                                                                                                                                                                                            $.  ____          �0.:...:.0_.::_
                                                                                                                                                                                                                                                                                                                                                                                 0
                                                    NON
                                ... . . . . ....




13. Non-farm animals
   Examples: Dogs,              cats, birds, horses

   iiil   No
   D      Yes. Describe..........
                                                                                                                                                                                                                                                                                                                                                    $                     0.00
                                                    NONE:                                                                                                                                                                                                                                                                                            ·------




14. Any other personal and household items you did not already list, including any health aids you did not list

   ia     No
   0      Yes. Give specific
                                                                                                                                                                                                                                                                                                                                                    $.               �0.:...:.0_.::_0
                                                    NONE
                                                                                                                                                                                                                                                                                                                                                        ____

          information   .   . . . . . . . ......




15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                                                                                                                                                                   $.___         �5�,2�5!!.;0.�00�
   for Part 3. Write that number here                             . . . . . . . . . . . ............ . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . .... . . . . . ... . . . . . . .. . . . . . . . . . . . . . . . ..... . . . . . . .. . . . . ....... . . . .... . . . . . . . . . . . . . . . . .   -+



Official Form 1 06A/B                                                                                                      Schedule AlB: Property                                                                                                                                                                                                              page 4
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Debtor 1            LEONARD                                                  NYAMUSEVYA                                                                  Case     number (ilknawn)   2: 19-bk-52868
                      First Name             Middle Name                     Last Name




f§ll            Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                                                                                                  Current value of the
                                                                                                                                                                                                             portion you own?
                                                                                                                                                                                                             Do not d ed uct secured   claims
                                                                                                                                                                                                             or exemptions.


16.Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   0 No
   � �································································································································································      Cash: .. .....................    $
                                                                                                                                                                                                                               300.00
                                                                                                                                                                                                               ________




17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                      and other similar institutions. If you have multiple accounts with the same institution, list each.

   0     No
   �     Yes .....................                                                              Institution name:



                                              17.1. Checking         account:                    CHASE BANK                                                                                                   $                  50.00

                                             17.2. Checking          account:                   PARK NATIONAL BANK                                                                                            $                    0.00

                                             17.3. Savings         account:                     NONE                                                                                                          $                    0.00

                                             17.4. Savings         account:                     NONE                                                                                                          $                    0.00

                                              17.5.   Certificates of deposit:                   NONE                                                                                                         $                    0.00

                                             17.6. Other financial           account:            CAPITAL CREDIT UNION                                                                                         $                  10.00

                                             17.7. Other financial           account:           NONE                                                                                                          $                    0.00

                                             17.8. Other financial account:                     NONE                                                                                                          $                    0.00

                                             17.9. Other financial           account:           NONE                                                                                                          $                    0.00




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

   �     No
   0     Yes .................                Institution or issu er name:


                                              NONE                                                                                                                                                            $                    0.00
                                                                                                                                                                                                                  -------




                                                                                                                                                                                                              $                    0.00
                                                                                                                                                                                                                  ------




                                                                                                                                                                                                              $   -------
                                                                                                                                                                                                                                   0.00



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   �     No                                  Name of e ntity:                                                                                                               % of ownership:
   0    Yes. Give specific                    NONE                                                                                                                          0%                %                                    0.00
                                                                                                                                                                                                              $
        information about
        them.........................
                                                                                                                                                                            0%                %                                    0.00
                                                                                                                                                                                                              $
                                                                                                                                                                            0%                %                                    0.00
                                                                                                                                                                                                              $




Official Form 1 06NB                                                                         Schedule AlB: Property                                                                                                        page 5
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Debtor 1         LEONARD                                          NYAMUSEVYA                                     Case number   (ffkoown)   2: 19-bk-52868
                   First Name            Middle Name              Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments

   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   B   No
   0   Yes. Give specific                Issuer name:
       information about                  NONE                                                                                                             0.00
       them.......................       ------                                                                                                         $ ----  --



                                                                                                                                                        $  0.00
                                                                                                                                                            ------

                                                                                                                                                           0.00 --
                                                                                                                                                        $ ----


21. Retirement or pension accounts
   Examples: Interests in IRA,              ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   B   No

   0   Yes. List each
       account separately.               Type of account:             Institution name:


                                         401 (k) or similar   plan:   NONE                                                                              $            0.00

                                                                      NONE                                                                              $            0.00
                                         Pension plan:


                                         IRA:                         NONE                                                                              $            0.00

                                         Retirement account:          NONE                                                                              $            0.00

                                         Keogh:
                                                                      NONE                                                                              $            0.00

                                         Add�ional account:
                                                                      NONE                                                                              $            0.00

                                         Addftional account:          NONE                                                                              $            0.00



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords,                     prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   �No

   0   Yes ......................... .                           Institution name or individual:

                                         Electric:               NONE                                                                                                    0.00
                                                                                                                                                        $
                                         Gas:                    NONE
                                                                                                                                                        $
                                                                                                                                                                         0.00
                                         Heating     oil:       _,_N..:..O=.:..N.:..:E=----                                                                              0.00
                                                                                                                                                        $
                                         Security deposit on rental un�:       _O
                                                                              _N _ N_E
                                                                                    ____________________
                                                                                                                                                        $
                                                                                                                                                                         0.00
                                         Prepaid rent:           NONE                                                                                                    0.00
                                                                                                                                                        $
                                         Telephone:              NONE                                                                                                    0.00
                                                                                                                                                        $
                                         VValer:                 NONE                                                                                                    0.00
                                                                                                                                                        $
                                         Rented furn�ure:        NONE                                                                                                    0.00
                                                                                                                                                        $
                                         Other:                  NONE                                                                                   $
                                                                                                                                                                         0.00


23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   B   No

   0   Yes .... .................... .   Issuer name and description:
                                          NONE                                                                                                          $'----   0.00
                                                                                                                                                             - ----

                                                                                                                                                                 0.00
                                                                                                                                                        $'--------
                                                                                                                                                        $c...____
                                                                                                                                                             ._  o
                                                                                                                                                                 :...;..o
                                                                                                                                                                   _ o"-


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             Case 2:19-bk-52868                                            Doc 86   Filed 09/10/19 Entered 09/10/19 17:14:34 Desc Main
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                                                                                   Document
                                                                              NYAMUSEVYA
                                                                                                 Page 7 of 17
                                                                                                           Case number (ifkoown) 2: 19-bk-52868
Debtor   1
                    First Name                    Middle Name                  last Name




24.1nterests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

   B     No
   D     Yes    · · · · · · · ·····························
                                                                  Institution name and description. Separately file the records of any interests.11 U.S. C.§ 521 (c)

                                                                  NONE                                                                                                  $                 0.00
                                                                                                                                                                                           __
                                                                                                                                                                            _____




                                                                                                                                                                        $   ______




                                                                  NONE                                                                                                    0.00 --
                                                                                                                                                                        $----


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   B     No

   D     Yes. Give specific
                                                                  NONE                                                                                                                      0.00
         information about them....                                                                                                                                     $
                                                                                                                                                                        ·-------




26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

   B     No

   0     Yes. Give specific                                   1 NONE
         information about them ....                          ·
                                                                                                                                                                                 0.00
                                                                                                                                                                        $'---------


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   B     No

   D     Yes. Give specific
         information about them....                                                                                                                                     $
                                                                                                                                                                        ·------
                                                                                                                                                                                            0.00


Money or property owed to you?                                                                                                                                          Current value of the
                                                                                                                                                                        portion you own?
                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                        claims or exemptions.


28. Tax refunds owed to you

   B     No

   D     Yes. Give specific information
                                                                                                                                                                    $                  0.00
                                                                              NONE                                                            Federal:
               about them, including whether
               you already filed the returns                                                                                                  State:                $                  0.00
               and the tax years ........................
                                                                                                                                              Local:                $                  0.00


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

   B     No

   D     Yes. Give specific information ..... .. ..... . . i
                                                                            ; NONE                                                           Alimony:                   $               0.00
                                                                                                                                             Maintenance:               $               0.00
                                                                                                                                             Support:                   $               0.00
                                                                                                                                             Divorce settlement:        $               0.00
                                                                                                                                             Property settlement:       $               0.00

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
             Social Security benefits; unpaid loans you made to someone else

   D     No
   ia    Yes. Give specific information ...............                       Citimor tgage Inc. owes $11 ,080.00; Ernest Duah owes $
                                                                                           ,    ,                                     24,596                                38,676.00
                                                                                                                                                                        $------'----
                                                                            I Michael O'Reilly owes        $3,000.00;


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Debtor 1          LEONARD                                                         NYAMUSEVYA                                                                                                                               Case number (ifknown)                                     2: 19-bk-52868
                   First Name      Middle Name                                     Last: Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

   li2l   No
   0      Yes. Name the insurance company                                         Co mpany name:                                                                                                                                   Beneficiary:                                                                                Surrender or refund value:
                of each policy and list its value. ..
                                                                                  NONE                                                                                                                                              NONE                                                                                               0.00
                                                                                                                                                                                                                                                                                                                               $'--------
                                                                                                                                                                                                                                                                                                                                    --

                                                                                                                                                                                                                                                                                                                                 0.00 ---
                                                                                                                                                                                                                                                                                                                               $----
                                                                                                                                                                                                                                                                                                                                 0.00 ---
                                                                                                                                                                                                                                                                                                                               $----

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.

   lia    No

   0      Yes. Give specific information..............                            NONE
                                                                                                                                                                                                                                                                                                                               $
                                                                                                                                                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                                                                                                                                               ·-------




33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue

   lia    No

   0      Yes. Describe each claim
                                                                              ;
                                                                                  NONE                                                                                                                                                                                                                                                              0.00
                                        . .. .. . . . . . . . . . . ......



                                                                                                                                                                                                                                                                                                                               $
                                                                                                                                                                                                                                                                                                                               ·------




34. other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims

   lia    No

   0      Yes. Describe each claim.                          ..
                                                                              NONE                                                                                                                                                                                                                                                                 0.00
                                          ............            ... . . .



                                                                                                                                                                                                                                                                                                                               $
                                                                                                                                                                                                                                                                                                                               ·------




35. Any financial assets you did not already list

   lia    No
   0      Yes. Give specific information............                              NONE                                                                                                                                                                                                                                                             0 .00
                                                                                                                                                                                                                                                                                                                               $
                                                                                                                                                                                                                                                                                                                               ·-------




36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here                      .. . . . . . . . . . . .... . . . . . . . . . . . . . . . . . . ................ . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . .......... . . . . . . . . . . . . . . . . . . . . . ..... . . . ............ . . . . . . ....   +                     39,036.00




                Describe Any Business-Related Property You Own or Have an Interest ln. List any real estate in Part 1.


37. Do you own or have any legal or equitable interest in any business-related property?

   0      No. Go to Part 6.

   lia    Yes. Go to line 38.

                                                                                                                                                                                                                                                                                                                         Current value of the
                                                                                                                                                                                                                                                                                                                         portion you own?
                                                                                                                                                                                                                                                                                                                         Do not deduct secured claims
                                                                                                                                                                                                                                                                                                                         or exemptions.


38. Accounts receivable or commissions you already earned

   0      No
                               ;
   lia    Yes. Describe .......
                                ' Bruce Reeves owes me $1 , 170.00                                                                                                                                                                                                                                                   . -�$.                   1 , 170. 00
                                                                                                                                                                                                                                                                                                                                               _ _ _ _ _
                                                                                                                                                                                                                                                                                                                           ____




39. Office equipment, furnishings, and supplies
   Examples:     Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   lia    No

   0      Yes. Describe .......;
                                                                                                                                                                                                                                                                                                                         ,$.                        o.oo
                                                                                                                                                                                                                                                                                                                                                     _ _
                                                                                                                                                                                                                                                                                                                           ___ _
                                                                                                                                                                                                                                                                                                                              _ _




Official Form 1 06A/B                                                                                           Schedule AlB: Property                                                                                                                                                                                                    page 8
            Case 2:19-bk-52868                                               Doc 86           Filed 09/10/19 Entered 09/10/19 17:14:34                                                                                                                                                                                                             Desc Main
                  LEONARD
                                                                                             Document
                                                                                         NYAMUSEVYA
                                                                                                           Page 9 of 17        2
 Debtor 1                                                                                                                                                                                                                                         Case number                           (ffkrown)                 : 19-bk-52868
                      First Name                 Middle Name                               Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade




                                                                                                                                                                                                                                                                                                                                                     $
   0 No
   IS Yes.      Describe .......,            .
                                                                                                                                                                                                                                                                                                                                                                       2,000.00
                                         'a1r compressor; table saw; mechamc tools; ttle saw; engmeenng too Is
                                                                                                                                                                       .                                      .                                           ·                   ·




                                                                                                                                                                                                                                                                                                                                     . .   �   .   ...J   ·
                                                                                                                                                                                                                                                                                                                                                              ------'----




41.1nventory
   �No

   0    Yes. Describe                                                                                                                                                                                                                                                                                                                                $.                      0._ 0_0
                                             NONE
                                                                                                                                                                                                                                                                                                                                                          ______
                               .......




42.1nterests in partnerships or joint ventures

   IS No


                                                                                                                                                                                                                                                                                                                                                     $$
   0 Yes. Describe ......                .
                                             Name of entity:                                                                                                                                                                                                                                       %of ownership:

                                                 NONE                                                                                                                                                                                                                                                                      %                                                 0.00


                                                                                                                                                                                                                                                                                                                                                      $
                                                                                                                                                                                                                                                                                                                           %                                                 0.00
                                                                                                                                                                                                                                                                                                                           %                                                 0.00

43. Customer lists, mailing lists, or other compilations
   �No
   0    Yes. Do your lists include personally identifiable information (as defined in                                                                                                                                         11        U.S.C.                § 101 (41 A))?



                                                                                                                                                                                                                                                                                                                                                          $
                lia    No
                0      Yes. Describe. ......
                                                                                                                                                                                                                                                                                                                                                                             0.00
                                                        .



                                                            ·NONE                                                                                                                                                                                                                                                                                             ·------




44. Any business-related property you did not already list



                                                                                                                                                                                                                                                                                                                                                      $
   �No
   0

                                                                                                                                                                                                                                                                                                                                                      $
        Yes. Give specific                   NONE                                                                                                                                                                                                                                                                                                                            0.00
         information .........               --
                                                                                                                                                                                                                                                                                                                                --




                                                                                                                                                                                                                                                                                                                                                      $
                                                                                                                                                                                                                                                                                                                                                      $
                                                                                                                                                                                                                                                                                                                                                      $
                                                                                                                                                                                                                                                                                                                                                      $
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
   for Part 5. Write that number here                          . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..... . . . . . . . . . . . . . . . . . . . . . . .   . . . . . . . . . . . . .............. . . . . . . . . . . . . . .   . . . . . . . . . . . . . . . ........ .   .......... �
                                                                                                                                                                                                                                                                                                                                                     I$                3.170. 00       1
                Describe Any Farm- an d Commercial Fishing-Related Property You Own or Have an Interest ln.
                If you own or have an interest in farmland, list it in Part 1.



46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   IS No. Go to Part 7.
   0 Yes. Go to line 47.
                                                                                                                                                                                                                                                                                                                                                      Current value of the
                                                                                                                                                                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                                                                                                                                                                                                                      or exemptions.
47. Farm animals

   Examples: Livestock, poultry, farm-raised fish

   liil' No


                                                                                                                                                                                                                                                                                                                                                              $
   0 Yes ................. .......   .




                                             NONE                                                                                                                                                                                                                                                                                                                           0.00
                                                                                                                                                                                                                                                                                                                                                               -------
                                                                                                                                                                                                                                                                                                                                                              ·




Official Form 1 06A/B                                                                                                       Schedule AlB: Property                                                                                                                                                                                                                 page 9
            Case 2:19-bk-52868                                                Doc 86          Filed 09/10/19 Entered 09/10/19 17:14:34                                                                                                                                                                                         Desc Main
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                                                                                                                     17        2 19
 Debtor 1                                                                                                                                                                                                                                  number (ifknown)                                  :            -bk-52868
                     First Name               Middle Name                                last Name




48. Crops-either growing or harvested

    Ia No
    0 '!es.      Gi�e specific
                                              NONE                                                                                                                                                                                                                                                                                                       0.00
         1nformat1on . ..........       ..                                                                                                                                                                                                                                                                                      $-------

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    B    No
    0    Yes ........................   . .




                                              NONE                                                                                                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                                                                                                                                                $   ·-------




50. Farm and fishing supplies, chemicals, and feed

    B    No

    0    Yes ........................   ..




                                              NONE                                                                                                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                                                                                                                                                $   ·-------




51. Any farm- and commercial fishing-related property you did not already list
    B    No
    0    Yes. Give specific
         information. ............            NONE                                                                                                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                                                                                                                                                $   · -------




52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                                                                                                                                                          0.00
                                                                                                                                                                                                                                                                                                                                $
    for Part 6. Write that number here                    . . .              .. ...... . . .       . .                                                                                                                                                                                                                     +
                                                                                                                                                                                                                                                                                                                                 ·-------

                                                                   . . . . . . . . . . . . . . . . . . . . .............   ....   ..   . . . . . . . . . . . . . . . . . . . . ........   .      .   .. ....      . . . . . . . . . . . . . . ........ ...   . . . . . . . . . . . . . . . . . . . . . . . . . . . .....




                 Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

    Ia   No
                                                                                                                                                                                                                                                                                                                                                      0.00
    0    Yes. Give specific                   NONE                                                                                                                                                                                                                                                                                  $------
         information. ..........        ..
                                                                                                                                                                                                                                                                                                                                    $'--------
                                                                                                                                                                                                                                                                                                                                                      0.00

                                                                                                                                                                                                                                                                                                                                    $
                                                                                                                                                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                                                                                                                                                    ·------




54. Add the dollar value o f all o f your entries from Part 7 . Write that number here                                                                                                                  .........     .    . .
                                                                                                                                                                                                                          . . ... .....    . .....
                                                                                                                                                                                                                                            .         ..... . . . . .   .   . . . ........    .         . .. +
                                                                                                                                                                                                                                                                                                 ..... ..           ...             $                 0.00



                 List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2                 ........... . . . . . . . ........................ . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..................... . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ..........        +    $   __  1_9_5_,_0_0_0_.0_0_

56. Part 2: Total vehicles, line 5                                                                                                                                                                    200.00
                                                                                                                                                                    $.  ______




                                                                                                                                                                                                5 25o.oo
57. Part 3: Total personal and household items, line 15                                                                                                             $.__
                                                                                                                                                                                               _ _, _ _ _ _




58. Part 4: Total financial assets, line 36
                                                                                                                                                                        __                    39
                                                                                                                                                                                               _ ,_ 03
                                                                                                                                                                                                     _ 6
                                                                                                                                                                                                       _ .0
                                                                                                                                                                                                          _ 0_
                                                                                                                                                                    $.

59. Part 5: Total business-related property, line 45                                                                                                               $__
                                                                                                                                                                                               _3_, 1 _7_0._00_

60. Part 6: Total farm- and fishing-related property, line 52
                                                                                                                                                                                                              0.00
                                                                                                                                                                    $------


61. Part 7: Total other property not listed, line 54                                                                                                         +$                                               0.00
                                                                                                                                                                       ·------




62. Total personal property. Add lines 56 through 61 ...................                                                                      . .                  $
                                                                                                                                                                                              47•656·0°                           Copy personal property total                                                             +   +$           47,656.00
                                                                                                                                                                                                                                                                                                                                    ·-------




63. Total of all property on Schedule AlB. Add line 55+ line 62.........................................................................................
                                                                                                                                                                                                                                                                                                                                          24 2, 656.00
                                                                                                                                                                                                                                                                                                                .               $_______




Official Form 1 06A/B                                                                                                 Schedule AlB: Property                                                                                                                                                                                                  page 10
              Case 2:19-bk-52868                  Doc 86         Filed 09/10/19 Entered 09/10/19 17:14:34                                 Desc Main
                                                                Document     Page 11 of 17
 Fill in th1s mformation to identify your case:


  Debtor 1            LEONARD                                NYAMUSEVYA
                      First Name               Middle Name                Last Name


  Debtor 2              NONE                   N/A
  (Spouse, �filing)   First Name               Middle Name                Last Name



  Un�ed States Bankruptcy Court for the: Southern District of Ohio

  Case number           2: 19-bk-52868                                                                                                       IB   Check if this is an
  (If known)
                                                                                                                                                  amended filing




Official Form 1 06C

Schedule C: The Property You Claim as Exempt                                                                                                               04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule AlB: Property (Official Form 106AIB) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


.,,,               Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      IS' You are claiming state and federal nonbankruptcy exemptions.              11 U.S.C.   §   522(b)(3)
      0 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



 2.   For any property you list on Schedule AlB that you claim as exempt, fill in the information below.


        Brief description of the property and line on         Current value of the      Amount of the exemption you claim        Specific laws that allow exemption
        Schedule AlB that lists this property                 portion you own

                                                              Copy the value from       Check only one box for each exemption.
                                                              Schedule AlB

      Brief
                               Residential orooert�           $195,000.00                0$                                      O.R.C. Ann§ 2329.66(A)(1)
      description:
                                                                                                                                 O.R.C. Ann§ 2329.66(0)(1)
      Line from                                                                          i21100% of fair market value, up to
      Schedule AlB:            1                                                             any applicable statutory limit


      Brief
                               Ford Windstar                  $200.00                    0$                                      O.R.C. Ann§ 2329.66(A)(2)
      description:
                                                                                         i21100% of fair market value, up to     O.R.C. Ann§ 2329.66(A)(2)
      Line from
                              _3___                                                          any applicable statutory limit
      Schedule AlB:

      Brief
                               Audio, l agtog, cell gh        $750.00                    0$                                      O.R.C. Ann§ 2329.66(A)(4)
      description:

      Line from                                                                          �   100% of fair market value, up to
      Schedule AlB:          :z_                                                             any applicable statutory limit



 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

      0 No
      liif   Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

             IS    No

             I:J   Yes




Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                            page 1 of   �
             Case 2:19-bk-52868                   Doc 86         Filed 09/10/19 Entered 09/10/19 17:14:34                                Desc Main
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Debtor 1          LEONARD                               NYAMUSEVYA                                  Case number (ifknown)   2: 19-bk-52868
                 First Name         Middle Name     Last Name




                Additional Page


       Brief description of the property and line           Current value of the   Amount of the exemption you claim            Specific laws that allow exemption
       on Schedule AlB that lists this property             portion you own

                                                            Copy the value from    Check only one box for each exemption
                                                            Schedule AlB

      Brief                                                                                                                    O.R.C. Ann§ 2329.66(A)(4)
                               Exercise                     $           200.00     0$
      description:

      Line from                9                                                   lil100% of fair market value, up to
      Schedule AlB:                                                                   any applicable statutory limit


      Brief                                                                                                                    O.R.C. Ann§ 2329.66(A)(4)
      description:            Clotbes                       $           300.00     0$
      Line from
                                                                                   !il100% of fair market value, up to
                               11                                                     any applicable statutory limit
      Schedule AlB:


      Brief
                               Cash                                     300.00                                                 O.R.C. Ann§ 2329.66(A)(3)
      description:                                          $                      0$
      Line from
                                                                                   liif 100% of fair market value, up to
                               16
      Schedule AlB:                                                                   any applicable statutory limit


      Brief
                              Chase Bank                                   50.00                                               O.R.C. Ann§ 2329.66(A)(3)
      description:                                          $                      0$
      Line from                17                                                  liif 100%   of fair market value, up to

      Schedule AlB:                                                                   any applicable statutory limit


      Brief
                               Park National Bank                           0.00                                               O.R.C. Ann§ 2329.66(A)(3)
      description:                                          $                      0$
      Line from
                                                                                   liif 100% of fair market value, up to
                               17                                                     any applicable statutory limit
      Schedule AlB:


      Brief                                                                                                                    O.R.C. Ann§ 2329.66(A)(3)
                               Ca�ital Credit Union        $               10.00   0$
      description:

      Line from                                                                    liif 100% af fair market value, up to
                              17
      Schedule AlB:                                                                   any applicable statutory limit


      Brief                                                                                                                    O.R.C. Ann§ 2329.66(A)(3)
                              Citimortgage, Inc            $        11,080.00      0$
     description:
                                                                                                                               O.R.C. Ann§ 2329.66(0)(1)
      Line from               30                                                   liif 100%   of fair market value, up to

      Schedule AlB:                                                                   any applicable statutory limit

      Brief                                                                                                                    O.R.C. Ann§ 2329.66(A)(3)
                              Ernest Duah                  $        24,596.00      0$
     description:
                                                                                                                               O.R.C. Ann§ 2329.66(0)(1)
      Line from                                                                    liif 100%   of fair market value, up to
                              30                                                      any applicable statutory limit
      Schedule AlB:


      Brief                                                                                                                    O.R.C. Ann§ 2329.66(A)(3)
                              Michael O'Reill�             $         3,000.00      0$
     description:
                                                                                                                               O.R.C. Ann§ 2329.66(0)(1)
      Line from                                                                    liif 100% of fair market value, up to
                              30
     Schedule AlB:                                                                    any applicable statutory limit


      Brief                                                                                                                    O.R.C. Ann§ 2329.66(A)(3)
                              Bruce Reeves                 $         1,170.00      0$
     description:
                                                                                                                               O.R.C. Ann§ 2329.66(0)(1)
     Line from                38                                                   liif 100%   of fair market value, up to

     Schedule AlB:                                                                    any applicable statutory limit

     Brief                                                                                                                     O.R.C. Ann§ 2329.66(A)(4)
                              Fridge; Range                $         4,000.00      0$
     description:

     Line from                                                                     liif 100%   of fair market value, up to
                              6                                                       any applicable statutory limit
     Schedule AlB:


     Brief                                                                                                                     O.R.C. Ann§ 2329.66(A)(5)
                              Tools, air com�resso         $         2,000.00      0$
     description:
                                                                                                                               O.R.C. Ann§ 2329.66(0)(1)
     Line from                                                                     lil100% of fair market value, up to
     Schedule AlB:
                              ..4Q._                                                  any applicable statutory limit




Official Form   1 06C                                    Schedule C: The Property You Claim as Exempt                                           page   l.__ or l_
                 Case 2:19-bk-52868              Doc 86      Filed 09/10/19 Entered 09/10/19 17:14:34                                              Desc Main
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 Fill   10   this informati on to identify your case:



  Debtor     1          LEONARD                         NYAMUSEVYA
                         First Name          Mddte Name                Last Name

  Debtor2                 NONE            N/A
  (Spouse, rr filing)    Fir>! Name          MddleName                 Last Name


  Un�ed States Bankruptcy Court for the: Southern District of Ohio


  Case number             2:19-bk-52868                                                                      Check if this is:
  (If known)
                                                                                                             it   An amended filing
                                                                                                             0    A supplement showing postpetition chapter 13
                                                                                                                  income as of the following date:

Official Form 1061                                                                                                MM I   DDI    YYYY

Schedule 1: Your Income                                                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                        Describe Employment


 1. Fill in your employment
    information.                                                             Debtor 1                                            Debtor   2 or non-filing spouse
     If you have more than one job,
     attach a separate page with
     information about additional
                                           Employment status              D    Employed                                          D    Employed
     employers.                                                           if   Not employed                                      D    Not employed

     Include part-time, seasonal, or
     self-employed work.
                                           Occupation                   ELECTRICAL ENGINEER                                    N/A
     Occupation may include student
     or homemaker, if it applies.

                                           Employer's name               SELF-EMPLOYED

                                           Employer's address           2064 WORCESTER COURT
                                                                         Number    Street                                      Number     Street




                                                                        COLUMBUS                    OH       43232
                                                                         c�                 State    ZIP Code                  City                   State   ZIP Code

                                           How long employed there?          4 YEARS                                            4 YEARS


                        Give Details About Monthly Income


    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.


                                                                                                        For Debtor 1           For Debtor 2 or
                                                                                                                               non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
      deductions). If not paid monthly, calculate what the monthly wage would be.           2.
                                                                                                    $     1,000.00                $

 3. Estimate and list monthly overtime pay.                                                 3.   +$            0.00        + $



 4. Calculate gross income. Add line 2 +line 3.                                             4.      $     1 .ooo .00
                                                                                                                         1 1      $'-----


Official Form 1061                                                   Schedule 1: Your Income                                                                  page 1
            Case 2:19-bk-52868                                                                         Doc 86                               Filed 09/10/19 Entered 09/10/19 17:14:34                                                                                         Desc Main
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Debtor 1         LEONARD                                                                                     NYAMUSEVYA                                                                                                                      Case number (ffkrown) 2:19-bk-52868
                 First Name                        Middle Name                                                 Last Name




                                                                                                                                                                                                                                        For Debtor 1           For Debtor 2 or



                                                                                                                                                                                                                                         $                       $
                                                                                                                                                                                                                                                               non-filina sooyse

   Copy line 4 here           . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   -+ 4.              1,000.00              _____




 5. List all payroll deductions:

                                                                                                                                                                                                                                       $$                        $
                                                                                                                                                                                                                                                                $
     Sa. Tax, Medicare, and Social Security deductions                                                                                                                                                                          Sa.                  0.00



                                                                                                                                                                                                                                        $                       $
     Sb. Mandatory contributions for retirement plans                                                                                                                                                                           Sb.                  0.00


                                                                                                                                                                                                                                        $                       $$
     Sc. Voluntary contributions for retirement plans                                                                                                                                                                           Sc.                  0.00



                                                                                                                                                                                                                                        $$
     Sd. Required repayments of retirement fund loans                                                                                                                                                                           Sd.                  0.00



                                                                                                                                                                                                                                                                 $
     Se. Insurance                                                                                                                                                                                                              Se.                  0.00



                                                                                                                                                                                                                                                                 $
     Sf.   Domestic support obligations                                                                                                                                                                                         Sf.                  0.00



                                                                                                                                                                                                                                      +$                       +$
     Sg. Union dues                                                                                                                                                                                                             Sg.     $            0.00




                                                                                                                                                                                                                                       $                         $
     Sh. Other deductions. Specify:                                                                                                                                                                                             Sh.                  0.00

  6. Add the payroll deductions. Add lines Sa+ Sb+ Sc+ Sd+ Se+Sf+ Sg+ Sh.                                                                                                                                                       6.                   0.00


  7. Calculate total monthly take-horne pay. Subtract line 6 from line 4.                                                                                                                                                       7.      $       1,000.00         $
 B. List all other income regularly received:

     Ba. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                                                        $                        $
                                                                                                                                                                                                                                         $                       $
                                                                                                                                                                                                                                                     0.00
           monthly net income.                                                                                                                                                                                                  Ba.

      Bb. Interest and dividends                                                                                                                                                                                                Bb.                  0.00
     Be. Family support payments that you, a non-filing spouse, or a dependent



                                                                                                                                                                                                                                         $                       $
         regularly receive

           Include alimony, spousal support, child support, maintenance, divorce


                                                                                                                                                                                                                                        $$                       $$
                                                                                                                                                                                                                                                     0.00
           settlement, and property settlement.                                                                                                                                                                                 Be.

     Bd. Unemployment compensation                                                                                                                                                                                              Bd.                  0.00
      Be. Social Security                                                                                                                                                                                                       Be.                  0.00
      Bf. Other government assistance that you regularly receive
           Include cash assistance and the value (if known) of any non-cash assistance



                                                                                                                                                                                                                                       $                        $
           that you receive, such as food stamps (benefits under the Supplemental
           Nutrition Assistance Program) or housing subsidies.
                      FOOD STAMPS                                                                                                                                                                                                                 180.00

                                                                                                                                                                                                                                       $                        $
           specify:                                                                                                                                                                                                             Bf.




                                                                                                                                                                                                                                      +$                       +$
      Bg. Pension or retirement income                                                                                                                                                                                          Bg.                  0.00




                                                                                                                                                                                                                                      I$                    1 $
      Bh. Other monthly income. Specify:                                                         -------                                                                                                                        Bh.                  0.00

 9. Add all other income. Add lines Ba+ Bb+ Be + Bd+ Be+ Bf+Bg+ Bh.
                                                                                                                                                                                                                                9.
                                                                                                                                                                                                                                                  18o.oo
                                                                                                                                                                                                                                                                                         I
10.Calculate monthly income. Add line 7+line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                                                                                                                                  10.   1$        1.180.00 +  1 1 $                        I= 1$      1,180.00


11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.



                                                                                                                                                                                                                                                                                             $
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

    Specify:     FOOD STAMPS                                                                                                                                                                                                                                                       11. +                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Uabilities and Certain Statistical Information, if it applies
                                                                                                                                                                                                                                                                                                    1,180.00
                                                                                                                                                                                                                                                                                   12.
                                                                                                                                                                                                                                                                                             Combined
                                                                                                                                                                                                                                                                                             monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     CJ    No.

     lia   Yes. Explain:                I am recovering from my eyes surgeries & I wish to get back in fulltime employment after these litigations


Official Form 1061                                                                                                                                             Schedule 1: Your Income                                                                                                           page 2
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      Fill in th1s mformation to identify your case:


      Debtor 1              LEONARD                           NYAMUSEVYA
                            First Name               MddleName                  Last Name                                 Check if this is:
      Debtor2               NONE                    N/A                                                                   el An amended filing
      (Spouse, rr filing)   First Name               MddfeName                  Last Name

                                                                                                                          D A supplement showing postpetition chapter             13
      UnHed States Bankruptcy Court for the: Southern District of Ohio
                                                                                                                            expenses as of the following date:
      Case number           2:19-bk-52868                                                                                     MM     I DDI   YYYY
      (If known)



  Official Form 1 06J

  Schedule .J: Your Expenses                                                                                                                                                  12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
  (if known). Answer every question.


                            Describe Your Household

 1. Is this a joint case?

       ll!f    No.   Go to line 2.
       0      Yes. Does Debtor 2 live in a separate household?

                     0      No
                     0      Yes. Debtor 2 must file Official Form 1 OOJ-2, Expenses for Separate Household of Debtor 2.


 2.    Do you have dependents?                      IS' No                                             Dependent's relationship to                  Dependent's   Does dependent live
       Do not list Debtor 1 and                     0   Yes. Fill out this information for    Debtor 1 or Debtor 2                                  age           with you?
       Debtor 2.                                        each dependent.. ......... ....
                                                                                 . . . .   ..
                                                                                           . . . . .   ��-������



                                                                                                                                                                  0    No
       Do not state the dependents'
       names.                                                                                                                                                     0    Yes

                                                                                                                                                                  0    No
                                                                                                                                                                  0    Yr.�

                                                                                                                                                                  0    No
                                                                                                                                                                  0    Yes

                                                                                                                                                                  0    No
                                                                                                                                                                  0    Yr.�

                                                                                                                                                                  0    No
                                                                                                                                                                  0    Yes

 3. Do your expenses include
                                                   IS   No
       expenses of people other than
       yourself and your dependents?               0    Yes


                      Estimate Your Ongoing Monthly Expenses

  Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
  expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
  applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule 1: Your Income (Official Form 1061.)                                                                 Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                      $                  0.00
         any rent for the ground or lot.                                                                                                     4.


        If not included in line 4:

         4a.     Real estate taxes                                                                                                           4a.      $                  0.00
         4b.     Property, homeowner's, or renter's insurance                                                                                4b.      $                  0.00
         4c.     Home maintenance, repair, and upkeep expenses                                                                               4c.      $                150.00
         4d.     Homeowner's association or condominium dues                                                                                 4d.      $                  0.00

Official Form 1 06J                                                    Schedule J: Your Expenses                                                                         page 1
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 Debtor 1          LEONARD                           NYAMUSEVYA                             Case number (ifknown)   2: 19-bk-52868
                   First Name     Middle Name       Last Name




                                                                                                                               Your expenses


                                                                                                                           $                     0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                      5.



 6.   Utilities:

      6a.    Electricity, heat, natural gas                                                                         6a.    $                    20.00

      6b.    Water, sewer, garbage collection                                                                       6b.    $                    40.00

      6c.    Telephone, cell phone, Internet, satellite, and cable services                                         6c.    $                    50.00

      6d.    Other. Specify:    Gasoline + Car re12air                                                              6d.    $                     0.00

 7.   Food and housekeeping supplies                                                                                7.     $                   150.00

 8.   Childcare and children's education costs                                                                      8.     $                     0.00

 9.   Clothing, laundry , and dry cleaning                                                                          9.     $                    20.00

10.   Personal care products and services                                                                           10.    $                    30.00

11.   Medical and dental expenses                                                                                   11.    $                     0.00

12.   Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                           $                   200.00
      Do not include car payments.                                                                                  12.


13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.    $                     0.00

14.   Charitable contributions and religious donations                                                              14.    $                     0.00

15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                           15a.   $                     0.00

      15b.   Health insurance                                                                                       15b.   $                     0.00

      15c. Vehicle insurance                                                                                        15c.   $                     0.00

      15d.   Other insurance. Specify:                                                                              15d.   $                     0.00


16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                           $                     0.00
      Specify:                                                                                                      16.


17.   Installment or lease payments:

      17a. Car payments for Vehicle        1                                                                        17a.   $                     0.00

      17b. Car payments for Vehicle        2                                                                        17b.   $                     0.00

      17c.   Other. Specify:                                                                                        17c.   $                     0.00

      17d. Other. Specify:                                                                                          17d.   $                     0.00

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 1061).                                              18.                       204.00
                                                                                                                           $

19.   Other payments you make to support others who do not live with you.

      Specify:                                                                                                       19.   $                     0.00

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule 1: Your Income.

      20a. Mortgages on other property                                                                              20a.   $                     0.00

      20b. Real estate taxes                                                                                        20b.   $                     0.00

      20c.   Property, homeowner's, or renter's insurance                                                           20c.   $                     0.00

      20d. Maintenance, repair, and upkeep expenses                                                                 20d.   $                     0.00

      20e.   Homeowner's association or condominium dues                                                            20e.   $                     0.00



Official Form 1 06J                                             Schedule J: Your Expenses                                                        page 2
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 Debtor 1          LEONARD                                 NYAMUSEVYA                           Case number (ifkrown) 2: 19-bk-52868
                    First Name       Middle Name       last Name




21.    other. Specify:      -------                                                                               21 .   +$.  ______
                                                                                                                                           0-=- 00
                                                                                                                                          =-c·   .::...


22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                             22a.            864.00
                                                                                                                          $�-------

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                     22b.      $-------
                                                                                                                                          0.00

       22c. Add line 22a and 22b. The result is your monthly expenses.                                          22c.      $             864.00




23. Calculate your monthly net income.
                                                                                                                           $           1,180.00
      23a.    Copy line 12       (your combined monthly income)    from   Schedule I.                            23a.

      23b.    Copy your monthly expenses from line 22c above.                                                    23b.    -$             864.00

      23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                           $            316.00
              The result is your     monthly net income.                                                         23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this fonm?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?


      0     No.

      Iii   Yes.      Explain here:    As soon as I get back in fulltime employment, I expect an increase in my expenses.




Official Form 106J                                                 Schedule J: Your Expenses                                              page 3
